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                COMPOSITE
                 EXHIBIT A
Case: 1:23-cv-15170 Document #: 1-1 Filed: 10/20/23 Page 2 of 30 PageID #:7
Case: 1:23-cv-15170 Document #: 1-1 Filed: 10/20/23 Page 3 of 30 PageID #:8
                            Case:
      Hearing Date: 1/12/2024        1:23-cv-15170 Document #: 1-1 Filed: 10/20/23 Page 4 of 30 PageID #:9
                               9:30 AM
      Location: Court Room 2402
      Judge: Price Walker, Allen
                                                                                                                                      FILED
                                                                                                                                      9/14/2023 1:58 PM
                                                                                                                                      IRIS Y. MARTINEZ
                                                                                                                                      CIRCUIT CLERK
                                                                                                                                      COOK COUNTY, IL
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                                                                                                                                      2023CH08174
                                                                                                                                      Calendar, 3
                                                                                                                                      24377561
                                            2120 - Served                2121 - Served              2620 - Sec. of State
                                            2220 - Not Served            2221 - Not Served          2621 - Alias Sec of State
                                            2320 - Served By Mail        2321 - Served By Mail
                                            2420 - Served By Publication 2421 - Served By Publication
                                            Summons - Alias Summons			                                           (12/01/20) CCG 0001 A


                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                            Name all Parties
                                            Melanie Rady, Individually and on behalf of all
                                            others similarly situated

                                                                                     Plaintiff(s)              2023CH08174
                                                                    v.
                                            PANAMERICAN CONSULTING,LLC,                             Case No.


                                                                                   Defendant(s)
                                            c/o Aidin Rahimi, 3843 S. BRISTOL ST., #308
                                            SANTA ANA, CA 92704

                                                                    Address of Defendant(s)
                                            Please serve as follows (check one):       Certified Mail      Sheriff Service    Alias
                                                                                          SUMMONS
                                            To each Defendant:
                                            You have been named a defendant in the complaint in this case, a copy of which is hereto attached.
                                            You are summoned and required to file your appearance, in the office of the clerk of this court,
                                            within 30 days after service of this summons, not counting the day of service. If you fail to do so, a
                                            judgment by default may be entered against you for the relief asked in the complaint.
                                                               THERE WILL BE A FEE TO FILE YOUR APPEARANCE.
                                            To file your written appearance/answer YOU DO NOT NEED TO COME TO THE
                                            COURTHOUSE. You will need: a computer with internet access; an email address; a completed
                                            Appearance form that can be found at http://www.illinoiscourts.gov/Forms/approved/procedures/
                                            appearance.asp; and a credit card to pay any required fees.



                                                         Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                              cookcountyclerkofcourt.org
                                                                                             Page 1 of 3
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                                            Summons - Alias Summons                                                                                 (12/01/20) CCG 0001 B
                                            E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-filing
                                            service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and to select a service
                                            provider.
                                            If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/faq/gethelp.asp or talk with
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                                            your local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that allows you to file in-
                                            person or by mail. Ask your circuit clerk for more information or visit www.illinoislegalaid.org.
                                            If you are unable to pay your court fees, you can apply for a fee waiver.  For information about defending
                                            yourself in a court case (including filing an appearance or fee waiver), or to apply for free legal help, go to www.
                                            illinoislegalaid.org. You can also ask your local circuit clerk’s office for a fee waiver application.
                                            Please call or email the appropriate clerk’s office location (on Page 3 of this summons) to get your court hearing
                                            date AND for information whether your hearing will be held by video conference or by telephone. The Clerk’s
                                            office is open Mon - Fri, 8:30 am - 4:30 pm, except for court holidays.
                                            NOTE: Your appearance date is NOT a court date. It is the date that you have to file your completed
                                                  appearance by. You may file your appearance form by efiling unless you are exempted.
                                            A court date will be set in the future and you will be notified by email (either to the email address that you used to
                                            register for efiling, or that you provided to the clerk’s office).
                                            CONTACT THE CLERK’S OFFICE for information regarding COURT DATES by visiting our website:
                                            cookcountyclerkofcourt.org; download our mobile app from the AppStore or Google play, or contact the
                                            appropriate clerk’s office location listed on Page 3.
                                            To the officer:  (Sheriff Service)
                                            This summons must be returned by the officer or other person to whom it was given for service, with endorsement
                                            of service and fees, if any, immediately after service. If service cannot be made, this summons shall be returned so
                                            endorsed. This summons may not be served later than thirty (30) days after its date.




                                                         62709
                                              Atty. No.: ________________                                  Witness date
                                              Pro Se 99500                                                 9/14/2023 1:58 PM IRIS Y. MARTINEZ

                                            Name: Chicago Consumer Law Center, P.C.
                                            Atty. for (if applicable):                                                 IRIS Y. MARTINEZ, Clerk of Court
                                            Plaintiff                                                          Service by Certified Mail: ___________

                                            Address: 650 Warrenville Road, Suite 100                          Date of Service: ____________
                                                                                                              (To be inserted by officer on copy left with employer or other person)
                                            City: Lisle
                                                    IL
                                            State: ____       60532
                                                         Zip: ________
                                                       312-858-3239
                                            Telephone: ________________________
                                            Primary Email: Bryan.Thompson@cclc-law.com

                                                                   Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                        cookcountyclerkofcourt.org
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                                                                   GET YOUR COURT DATE BY CALLING IN OR BY EMAIL

                                            CALL OR SEND AN EMAIL MESSAGE to the telephone number or court date email address below for the
                                            appropriate division, district or department to request your next court date.  Email your case number, or, if you do
                                            not have your case number, email the Plaintiff or Defendant’s name for civil case types, or the Defendant’s name
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                                            and birthdate for a criminal case.


                                                        CHANCERY DIVISION                                          ALL SUBURBAN CASE TYPES
                                            Court date EMAIL: ChanCourtDate@cookcountycourt.com                        DISTRICT 2 - SKOKIE
                                            Gen. Info: (312) 603-5133                                     Court date EMAIL: D2CourtDate@cookcountycourt.com
                                                            CIVIL DIVISION                                Gen. Info: (847) 470-7250
                                            Court date EMAIL: CivCourtDate@cookcountycourt.com                  DISTRICT 3 - ROLLING MEADOWS
                                            Gen. Info: (312) 603-5116                                     Court date EMAIL: D3CourtDate@cookcountycourt.com
                                                          COUNTY DIVISION                                 Gen. Info: (847) 818-3000
                                            Court date EMAIL: CntyCourtDate@cookcountycourt.com                      DISTRICT 4 - MAYWOOD
                                            Gen. Info: (312) 603-5710                                     Court date EMAIL: D4CourtDate@cookcountycourt.com
                                             DOMESTIC RELATIONS/CHILD SUPPORT                             Gen. Info: (708) 865-6040
                                                              DIVISION                                              DISTRICT 5 - BRIDGEVIEW
                                            Court date EMAIL: DRCourtDate@cookcountycourt.com             Court date EMAIL: D5CourtDate@cookcountycourt.com
                                                              OR
                                                              ChildSupCourtDate@cookcountycourt.com
                                                                                                          Gen. Info: (708) 974-6500
                                            Gen. Info:    (312) 603-6300                                             DISTRICT 6 - MARKHAM

                                                        DOMESTIC VIOLENCE                                 Court date EMAIL: D6CourtDate@cookcountycourt.com
                                            Court date EMAIL: DVCourtDate@cookcountycourt.com             Gen. Info: (708) 232-4551
                                            Gen. Info: (312) 325-9500
                                                             LAW DIVISION
                                            Court date EMAIL: LawCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-5426
                                                         PROBATE DIVISION
                                            Court date EMAIL: ProbCourtDate@cookcountycourt.com
                                            Gen. Info: (312) 603-6441




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      Judge: Price Walker, Allen                                                                        CIRCUIT CLERK
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                                                                                                                                                                         2023CH08174
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                                            Chancery Division Civil Cover Sheet
                                            General Chancery Section                                                                                             (12/01/20) CCCH 0623

                                                                                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                        COUNTY DEPARTMENT, CHANCERY DIVISION


                                            Melanie Rady
                                                                                                          Plaintiff
                                                                                                                                 2023CH08174
                                                                                v.                                    Case No: 
                                            PANAMERICAN CONSULTING,LLC,
                                                                                                         Defendant

                                                                                         CHANCERY DIVISION CIVIL COVER SHEET
                                                                                             GENERAL CHANCERY SECTION
                                            A Chancery Division Civil Cover Sheet - General Chancery Section shall be filed with the initial complaint in all actions filed in the General
                                            Chancery Section of Chancery Division. The information contained herein is for administrative purposes only. Please check the box in
                                            front of the appropriate category which best characterizes your action being filed.
                                            Only one (1) case type may be checked with this cover sheet.
                                            0005        Administrative Review                                         0017       Mandamus
                                            0001    ✔ Class Action                                                    0018       Ne Exeat
                                            0002        Declaratory Judgment                                          0019       Partition
                                            0004        Injunction                                                    0020       Quiet Title
                                                                                                                      0021       Quo Warranto
                                            0007        General Chancery                                              0022       Redemption Rights
                                            0010        Accounting                                                    0023       Reformation of a Contract
                                            0011        Arbitration                                                   0024       Rescission of a Contract
                                            0012        Certiorari                                                    0025       Specific Performance
                                            0013        Dissolution of Corporation                                    0026       Trust Construction
                                            0014        Dissolution of Partnership                                    0050       Internet Take Down Action (Compromising Images)
                                            0015        Equitable Lien
                                            0016        Interpleader                                                               Other (specify) ____________________________

                                                          62709
                                               Atty. No.: ________________              Pro Se 99500
                                                                                                                      Pro Se Only:      I have read and agree to the terms of the Clerk’s
                                            Atty Name: Bryan Thompson                                                                  Clerk’s Office Electronic Notice Policy and
                                                                                                                                        choose to opt in to electronic notice from the
                                            Atty. for: Plaintiff                                                                       Clerk’s office for this case at this email address:
                                            Address: 650 Warrenville Road, Suite 100
                                                                                                                      Email: 
                                                  Lisle
                                            City: ____________________________                    IL
                                                                                           State: ____
                                                 60532
                                            Zip: ________
                                                       312-858-3239
                                            Telephone: ________________________

                                            Primary Email: Bryan.Thompson@cclc-law.com
                                                                               Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
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      Location: Court Room 2402                                                                          IRIS Y. MARTINEZ
      Judge: Price Walker, Allen                                                                         CIRCUIT CLERK
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                                                                                                                              2023CH08174
                                                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                       Calendar, 3
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                                                              COUNTY DEPARTMENT, CHANCERY DIVISION
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                                             MELANIE RADY,
                                             Individually and on behalf of all others
                                             similarly situated,
                                                                                            Case No.: 2023CH08174
                                             Plaintiff,
                                             v.

                                             PANAMERICAN CONSULTING,                        CLASS ACTION
                                             LLC,

                                             Defendant.                                     JURY DEMAND



                                                               PLAINTIFF’S CLASS ACTION COMPLAINT

                                                   Plaintiff, Melanie Rady (“Plaintiff”), individually and on behalf of all other

                                            similarly situated, brings this action under the Illinois Consumer Fraud and

                                            Deceptive Business Practices Act (“ICFA”), the Illinois Debt Settlement Consumer

                                            Protection Act, (“DSCPA”), and the Credit Repair Organization Act (“CROA”) for a

                                            finding that Defendant’s actions violated the ICFA, DSCPA, CROA, and to recover

                                            damages for Defendant’s violations thereof, and alleges:

                                                                          NATURE OF THE CASE

                                                   1.      Defendant Panamerican Consulting, LLC (“PCLLC”) is a debt

                                            settlement provider that operates nationally and in the state of Illinois. However,

                                            Defendant does not practice law in the State of Illinois and does not employ attorneys

                                            that are permitted to, and regularly do, practice law in the State of Illinois.




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                                                  2.     Defendant targets consumers who are in significant debt with promises

                                            to improve their financial situation, and credit outlook. These consumers, like
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                                            Plaintiff, are especially vulnerable: relentless collection letters, calls, and even

                                            lawsuits can, and do, drive them to seek an escape valve for their financial issues.

                                            Debt settlement providers, like Defendant, make enticing promises to consumers in

                                            debt, claiming that they can significantly lower their payments and help them resolve

                                            their debt problems, once and for all.

                                                  3.     However, these promises are often broken, leaving the consumer deeper

                                            in debt and in a much worse place than where they started. As a result, the State of

                                            Illinois enacted the Debt Settlement Consumer Protection Act, 225 ILCS 419 et seq.

                                            to regulate debt settlement companies in Illinois. The Consumer Fraud Act also more

                                            broadly regulates businesses as they relate to consumers.

                                                  4.     The DSCPA was enacted in 2010 to regulate debt settlement companies

                                            and include much needed consumer protections.

                                                  5.     The DSCPA includes requirements that debt settlement companies that

                                            choose to operate in Illinois become licensed in this state and abide by certain

                                            required provisions, such as a 15% cap on payment for settled debt. This act also

                                            prohibits certain false and deceptive communications by debt settlement providers,

                                            for example, prohibiting debt settlement companies as well as requiring certain

                                            disclosures to ensure that consumers are fully informed of the risks of hiring a debt

                                            settlement company.

                                                  6.      Violations of the Debt settlement consumer protection act are violations



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                                            of the Illinois Consumer Fraud and Deceptive Business Practices Act. ICFA, 815

                                            ILCS 505/2, (“Violations of the Debt Settlement Consumer Protection Act. Any person
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                                            who violates the Debt Settlement Consumer Protection Act commits an unlawful

                                            practice within the meaning of this Act.”).

                                                  7.     The rules governing debt settlement companies are clear, yet Defendant

                                            has violated numerous provisions of the DSCPA and ICFA, causing significant harm

                                            to Plaintiff and members of the putative class.

                                                  8.     In response to abuses by credit repair companies, Congress enacted the

                                            Credit Repair Organizations Act (“CROA”) in 1996, as an amendment to the

                                            Consumer Protection Act (“CPA”). 15 U.S.C. § 1679 et seq.

                                                  9.     Congress did so against the backdrop of express findings that consumers

                                            have a vital interest in establishing and maintaining their credit worthiness and

                                            credit standing; that in order to obtain and use credit consumers who have

                                            experienced credit problems may seek assistance from credit repair organizations

                                            which offer to improve the credit standing of such consumers; and, that certain

                                            advertising and business practices of companies engaged in the character of business

                                            that Defendant operates have worked a financial hardship upon consumers—

                                            particularly those of limited economic means and who are inexperienced in credit

                                            matters. 15 U.S.C. § 1679(a).

                                                  10.    The CROA, which became effective on April 1, 1997, was enacted to

                                            improve the policing of companies associated with services offered to aid in credit

                                            repair by ensuring that consumers seeking to utilize such services are provided



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                                            additional disclosures and other protections against deceptive business practices. See

                                            15 U.S.C. § 1679(b).
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                                                                         JURISDICTION AND VENUE

                                                   11.    Jurisdiction over Defendant is proper under 735 ILCS 5/2-209(a)(l)

                                            (transaction of any business within this State), section 2-209(a)(7) (the making or

                                            performance of any contract or promise substantially connected with this State),

                                            section 2-209(b)(4) (corporation doing business within this State), and section 2-209(c)

                                            (any other basis now or hereafter permitted by the Illinois Constitution and the

                                            Constitution of the United States

                                                   12.    Jurisdiction over Defendant is proper under 735 ILCS 5/2-209(a)(1)

                                            (transaction of any business within this State), section 2-209(b)(4) (corporation doing

                                            business within this State), and section 2-209(c) (any other basis now or hereafter

                                            permitted by the Illinois Constitution and the Constitution of the United States).

                                                   13.    Pursuant to General Order No. 1.2 of the Circuit Court of Cook County,

                                            this action is properly before the Chancery Division of the County Department

                                            because it is a Class Action.

                                                                                  PARTIES

                                                   14.     Plaintiff, Melanie Rady (“Plaintiff” or “Ms. Rady”) is a resident and

                                            citizen of the state of Illinois.

                                                   15.     Plaintiff purchased and contracted for the purchase of “debt settlement

                                            services” with PCLLC as that term is defined in DSCPA, 225 ILCS 429/10.

                                                   16.     Plaintiff is a consumer as that term is defined in DSCPA, 225 ILCS



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                                            429/10, ICFA, 815 ILCS 505/1(e) and CROA, 15 U.S.C. § 1679(a)(1).

                                                  17.     Plaintiff is also a person as that term is defined in ICFA, 815 ILCS
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                                            505/1(c).

                                                  18.     Defendant Panamerican Consulting, LLC (“PCLLC”) is a California

                                            based debt settlement and credit repair company.

                                                  19.     Defendant’s primary place of business is 3843 S. Bristol Street, #308,

                                            Santa Ana, California 92704.

                                                  20.     Defendant uses instruments of interstate commerce including the

                                            mails to sell, provide, or perform services, in return for the payment of money or other

                                            valuable consideration, for the express or implied purpose of engaging in consumers

                                            to provide alleged “debt settlement” services.

                                                  21.     Defendant solicited business from consumers throughout the United

                                            States, including Illinois.

                                                  22.     Defendant engaged in the business of providing debt settlement

                                            services in exchange for fees or compensation and are therefore “debt settlement

                                            providers” as that term is defined at 225 ILCS 429/10.

                                                  23.     Defendant conducted its debt settlement services in the state of Illinois

                                            and many other states.

                                                  24.     Defendant PCLLC uses instruments of interstate commerce including

                                            the mails and wires to sell, provide, or perform services, in return for the payment of

                                            money or other valuable consideration, for the express or implied purpose of

                                            improving any consumer’s credit record, credit history, or credit rating, and is



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                                            therefore a “credit repair organization” as that term is defined at 15 U.S.C.A. §

                                            1679a(3).
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                                                                        FACTUAL ALLEGATIONS

                                                  25.     Plaintiff was having trouble paying certain bills and received

                                            solicitations from Defendant, or an agent working on behalf of Defendant, advertising

                                            debt settlement services.

                                                  26.     Specifically, Defendant claimed that it could significantly negotiate

                                            down Plaintiff’s bills and that she would pay a fraction of what she allegedly owed.

                                                  27.     Defendant claimed that engaging its services would prevent long term

                                            damage to her credit profile.

                                                  28.     Based on this solicitation, Plaintiff spoke with an agent of Defendant,

                                            and obtained additional information.

                                                  29.     Defendant claims that it does not perform “debt settlement” but rather

                                            “debt validation” services in which it attempts to use technicalities to “invalidate” a

                                            debt and eliminate it from a consumer’s credit report. However, Defendant does not

                                            have the ability to do this and there is no legal way to permanently and legally remove

                                            a valid and lawful debt without payment or negotiation with the creditor.

                                                  30.     After additional review of the documents and speaking with

                                            Defendant’s representatives, Plaintiff was convinced that Defendant would be able to

                                            help her resolve her financial problems and agreed to hire Defendant.

                                                  31.     Defendant is not licensed as a debt settlement provider, even though a

                                            license is required in Illinois pursuant to the DSCPA to perform debt settlement



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                                            services.

                                                  32.      After retaining Defendant’s services, its agents told Plaintiff to stop
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                                            paying her creditors and to no longer pay bills—even on lines of credit that were

                                            current.

                                                  33.      Defendant’s    agents   additionally   told   Plaintiff   to   cease   all

                                            communications with her creditors and to have all statements sent directly to

                                            Defendant’s offices. This caused a further breakdown in relations between Plaintiff

                                            and her creditors.

                                                  34.      Plaintiff was concerned that failing to pay her bills would cause

                                            additional damage to her credit and cause litigation against her to collect alleged

                                            debts, and she reached out to Defendant.

                                                  35.      Defendant’s agents told Plaintiff that her credit would only be

                                            decreased for a few months while Defendant’s agents negotiated a settlement with

                                            her creditors, which, in turn, would cause her score to increase beyond where it had

                                            been before.

                                                  36.      However, Defendant’s claims and assertions were false, and the impact

                                            of Defendant’s suggested course of action was catastrophic for Plaintiff.

                                                  37.      Defendant’s strategy only caused Plaintiff’s financial situation to

                                            deteriorate further, as her creditworthiness was destroyed. She was forced to pay

                                            substantial amounts of money to Defendant even though Defendant did not provide

                                            the services as promised, and Plaintiff eventually faced litigation over alleged debts

                                            by at least one of her creditors.



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                                                  38.    Moreover, Defendant’s actions violated Illinois law. Specifically, §

                                            429/145 of the DSCPA states in relevant part:
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                                                        Sec. 145. Prohibited practices. A debt settlement provider shall
                                                        not do any of the following:

                                                        (2)  Advise or represent, expressly or by implication, that
                                                        consumers should stop making payments to their creditors.

                                                        (3)  Advise or represent, expressly or by implication, that
                                                        consumers should stop communicating with their creditors.

                                                        (8) Advertise, display, distribute, broadcast, or televise services
                                                        or permit services to be displayed, advertised, distributed,
                                                        broadcasted, or televised, in any manner whatsoever, that
                                                        contains any false, misleading, or deceptive statements or
                                                        representations with regard to any matter, including services to
                                                        be performed, the fees to be charged by the debt settlement
                                                        provider, or the effect those services will have on a consumer's
                                                        credit rating or on creditor collection efforts.

                                                        (13) Misrepresent any material fact, make a material omission,
                                                        or make a false promise directed to one or more consumers in
                                                        connection with the solicitation, offering, contracting, or
                                                        provision of debt settlement service.

                                                        (17) Employ an unfair, unconscionable, or deceptive act or
                                                        practice, including the knowing omission of any material
                                                        information.

                                                        (18) Engage in any practice that prohibits or limits the
                                                        consumer or any creditor from communication directly with one
                                                        another.

                                            225 ILCS 429/145

                                                  39.    Defendant also took thousands of dollars in fees, an amount in excess

                                            of what is allowed under the DSCPA. The DSCPA allows a debt settlement company

                                            to collect a maximum of 15% of the total amount saved. 225 ILCS 429/1


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                                                  40.     Defendant’s “debt validation” efforts consisted solely of sending letters

                                            disputing the debt to Defendant and credit bureaus. However, these efforts were not
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                                            effective, and would not be effective, as there is no legal requirement for credit

                                            bureaus or creditors to remove otherwise valid debts.

                                                  41.     Additionally, Defendant charged Plaintiff a “Validation Program Cost”

                                            of 50% of her “debt enrolled”, costing her far in excess of the allowed fee cap under

                                            the DSCPA.

                                                  42.     Plaintiff has paid or been invoiced for fees in excess of 15% of the

                                            amount saved by Defendant even though this is in excess of what it could collect under

                                            the DSCPA.

                                                  43.     Defendant violated the following provisions of the DSCPA:

                                                  Sec. 125. Fees.

                                                  (c) A debt settlement provider may charge a settlement fee, which
                                                  shall not exceed an amount greater than 15% of the savings. If the
                                                  amount paid by the debt settlement provider to the creditor or
                                                  negotiated by the debt settlement provider and paid by the consumer
                                                  to the creditor pursuant to a settlement negotiated by the debt
                                                  settlement provider on behalf of the consumer as full and complete
                                                  satisfaction of the creditor's claim with regard to that debt is greater
                                                  than the principal amount of the debt, then the debt settlement
                                                  provider shall not be entitled to any settlement fee.

                                               225       CS 429/125

                                                  44.     However, Defendant sought to charge Plaintiff 50% of her total debt

                                            entered into the program, rather than simply the savings, as allowed by law. In this

                                            way, Defendant overcharged both as a percentage (15% vs. 50%) as well as basing it

                                            on a higher amount overall (by considering all debt “enrolled”, not just the savings

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                                            that Defendant could obtain).

                                                    45.       As a result, Defendant violated 225 ILCS 429/125 of the DSCPA.
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                                                    46.       The DSCPA additionally requires certain pre-sale disclosures be made

                                            to consumers. Defendant failed to make these disclosures fully and accurately in

                                            violation of 225 ILCS 429/115. Specifically, Defendant failed to disclose to Plaintiff

                                            that:

                                                          A. Using Defendant’s services likely would harm Plaintiff’s credit history
                                                             and credit score (225 ILCS 429/115(a)(2));

                                                          B. Using Defendant’s service would not stop creditor collection activity,
                                                             including creditor lawsuits and garnishments (225 ILCS
                                                             429/115(a)(3));

                                                          C. Not all creditors will accept a reduction in the balance, interest rate, or
                                                             fees a consumer owes (225 ILCS 429/115(a)(4));

                                                          D. Plaintiff remained obligated to make periodic or scheduled payments to
                                                             creditors while participating in Defendant’s debt settlement plan, and
                                                             that Defendant will not make any periodic or scheduled payments to
                                                             creditors on behalf of Plaintiff (225 ILCS 429/115(a)(6));

                                                          E. Plaintiff’s failure to make periodic or scheduled payments to a creditor
                                                             would likely: (A) harm her credit history, credit rating, or credit score;
                                                             (B) lead the creditor to increase lawful collection activity, including
                                                             litigation, garnishment of her wages, and judgment liens on her
                                                             property; and (C) lead to the imposition by the creditor of interest
                                                             charges, late fees, and other penalty fees, increasing the principal
                                                             amount of the debt (225 ILCS 429/115(a)(7));

                                                          F. The amount of time estimated to be necessary to achieve the represented
                                                             results (225 ILCS 429/115(a)(8)); or

                                                          G. The estimated amount of money or the percentage of debt that Plaintiff
                                                             must accumulate before a settlement offer will be made to each of her
                                                             creditors.

                                                    47.       Defendant’s actions caused Plaintiff to default on further obligations,



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                                            resulting in her being sued by at least one of her creditors, causing additional

                                            financial damage. Defendant refused to assist Plaintiff in defending her in this
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                                            matter as well.

                                                   48.       After Plaintiff was sued, Defendant did nothing to represent her in the

                                            action and does not have attorneys employed to represent and provide legal services

                                            to consumers in the state of Illinois.

                                                   49.       Plaintiff has been damaged as a result of Defendant’s violations of the

                                            DSCPA, including but not limited to money spent in excess of what was allowed by

                                            law, loss of time, aggravation and inconvenience, and attorney’s fees and court costs.

                                                   50.       Under § 429/80 of the DSCPA, “[a]ny contract of debt settlement service

                                            as defined in this Act made by an unlicensed person shall be null and void and of no

                                            legal effect.”

                                                   51.       Because Defendant is unlicensed and has been operating without a

                                            license in this state, the contract between Plaintiff and Defendant is an illegal

                                            contract, is void ab initio, and Defendant may not enforce any of its provisions

                                            whatsoever, including the arbitration clause, class action waiver, or choice-of-law

                                            provision.

                                                   52.       While the contact between Plaintiff and Defendant contained an

                                            arbitration provision and class action waiver that sought to prohibit a class action

                                            and compel any dispute into private arbitration, this arbitration provision and class

                                            action wavier are void and unenforceable under the DSCPA.




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                                                                                  COUNT I

                                              Violations of the Debt Settlement Consumer Protection Act and Illinois
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                                                                           Consumer Fraud Act

                                                  53.     Plaintiff incorporates by reference as if fully set forth herein the

                                            allegations contained in the preceding paragraphs of this Complaint.

                                                  54.     This count is is brought on behalf of Plaintiff, individually and on behalf

                                            of all others similarly situated and against Defendant.

                                                  55.     The DSCPA states explicitly that violations of Section 105, 110, 115,

                                            120, 125, 130, 135, 140, 145, or 150 of this Act constitutes an unlawful practice under

                                            the Consumer Fraud and Deceptive Business Practices Act.

                                                  56.     As set forth above, Defendant has violated at least sections 105, 115 –

                                            125, and 135 – 150 of the DSCPA.

                                                  56.     By violating these provisions of the DSCPA, Defendant has also

                                            violated the Illinois Consumer Fraud Act.

                                                  57.     As discussed in detail above, Defendant’s conduct and violations of the

                                            DSCPA and ICFA have caused substantial damage to Plaintiff and members of the

                                            putative class.

                                                                                   Count II

                                                                    Credit Repair Organizations Act

                                                  58.     Plaintiff incorporates by reference as if fully set forth herein the

                                            allegations contained in the preceding paragraphs of this Complaint.

                                                  59.     Plaintiff brings this Count as an action for damages for Defendant’s



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                                            violations of the CROA, 15 U.S.C.A. § 1679 et seq.

                                                  60.     On September 30, 1996, the CROA became effective; it regulates the
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                                            credit repair organizations industry, and among other things, prohibits “unfair or

                                            deceptive advertising and business practices by credit repair organizations.” 15

                                            U.S.C.A. § 1679b(a)(2).

                                                  61.    Under 15 U.S.C.A. § 1679a(3)(A), the CROA provides as follows:

                                                         The term “credit repair organization” --

                                                         (A) means any person who uses any instrumentality
                                                         of interstate commerce or the mails to sell, provide,
                                                         or perform (or represent that such person can or will
                                                         sell, provide, or perform) any service, in return for
                                                         the payment of money or other valuable
                                                         consideration, for the express or implied purpose of
                                                         –

                                                               (i) improving any consumer’s credit record,
                                                               credit history, or credit rating; or

                                                               (ii) providing advice or assistance to any
                                                               consumer with regard to any activity or
                                                               service described in clause….

                                                  62.    The purposes of the CROA, according to Congress, are: (1) to ensure that

                                            prospective buyers of the services of credit repair organization are provide with the

                                            information necessary to make an informed decision regarding the purchase of such

                                            services; and (2) to protect the public from unfair or deceptive advertising and

                                            business practices by credit repair organizations. 15 U.S.C. § 1679(b).

                                                  63.    Defendant, at all times relevant hereto, offered credit repair services in

                                            Illinois, in that Defendant, while acting as an intermediary between consumers and

                                            their creditors, advertised that Defendant could reduce the amount of debt due.

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                                                    64.   In the course of advertising, soliciting, offering for sale, and selling

                                            credit repair services to Illinois consumers, Defendant violated the CROA by, inter
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                                            alia:

                                                          A.     Failing to provide Plaintiffs with the disclosures required

                                                                 under the Act. 15 U.S.C.A. § 1679c and 1679d;

                                                          B.     Failing to provide Plaintiffs with a proper notice of

                                                                 cancellation. 15 U.S.C.A. § 1679d and 1679e;

                                                          C.     Charging Plaintiff money or other valuable consideration

                                                                 for its services prior to fully performing the same. 15

                                                                 U.S.C.A. § 1679b(b); and,

                                                          D.     Making untrue or misleading representations regarding

                                                                 its credit repair services. 15 U.S.C.A. § 1679b(a)(3).

                                                    65.   15 U.S.C.A. § 1679g(a)(3) states:

                                                          (a) Liability established

                                                          Any person who fails to comply with any provision
                                                          of this subchapter with respect to any other person
                                                          shall be liable to such person in an amount equal to
                                                          the sum of the amounts determined under each of
                                                          the following paragraphs:
                                                                 (3) Attorneys’ fees
                                                                 In the case of any successful action to enforce
                                                                 any liability under paragraph (1) or (2), the
                                                                 costs of the action, together with reasonable
                                                                 attorneys’ fees.
                                                    66.   Defendant further violated the CROA by engaging, directly or indirectly,

                                            in acts, practices, or a course of business designed to defraud and deceive Plaintiff


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                                            regarding Defendant’s credit repair services. 15 U.S.C.A. § 1679a.

                                                  67.   As a result of Defendant’s conduct and its violations of the CROA,
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                                            Plaintiff has been damaged.

                                                  68.   Plaintiff has suffered credit harm, mental anguish, emotional distress,

                                            aggravation, and humiliation as a result of Defendant’s conduct.

                                                                          CLASS ALLEGATIONS

                                                  69.    Plaintiff brings this claim on behalf of a class. The class consists of:

                                                  (a) all individuals with Illinois addresses; (b) who entered into a debt

                                                  settlement agreement with Defendant; (c) and paid Defendant for

                                                  debt settlement services; (d) within the past 3 years.

                                                  70.    Plaintiff may alter the class definition to conform to developments in the

                                            case and discovery.

                                                  71.    The proposed class meets all requirements under 735 ILCS 5/2-801.

                                                  72.    Numerosity: Upon information and belief, the Class is so numerous

                                            that joinder of all individual plaintiffs would be impracticable. The exact number of

                                            class members is presently unknown to Plaintiff and can only be ascertained through

                                            discovery because that information is exclusively in the possession of Defendant.

                                            However, it is reasonable to infer that more than 40 Illinois consumers are members

                                            of the class. Class members can be easily identified through Defendant’s records or

                                            by other means. Class members may be notified of the pendency of this action by

                                            recognized, Court-approved notice dissemination methods, which may include U.S.

                                            mail, electronic mail, Internet postings, and/or published notice.



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                                                  73.   Commonality and Predominance: This action involves common

                                            questions of law and fact, which predominate over any questions affecting individual
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                                            class members, including, without limitation:

                                                        A.   Whether the Defendant charged unlawful fees to Plaintiff
                                                        and members of the putative class;

                                                        B.     Whether the Defendant violated the DSCPA;

                                                        C.     Whether the Defendant violated the ICFA;

                                                        D.     Whether Defendant violated the CROA;

                                                        E.   Whether the Defendant made statements prohibited by
                                                        law or that were otherwise false, inaccurate or deceptive;

                                                        F.    Whether the Defendant advertised, displayed, distributed,
                                                        broadcast, or televised services or permitted services to be
                                                        displayed, advertised, distributed, broadcasted, or televised, in
                                                        any manner whatsoever, that contains any false, misleading, or
                                                        deceptive statements or representations with regard to any
                                                        matter, including services to be performed, the fees to be
                                                        charged by the debt settlement provider, or the effect those
                                                        services will have on a consumer's credit rating or on creditor
                                                        collection efforts;

                                                        G.    Whether the Defendant misrepresented any material fact,
                                                        made a material omission, or made a false promise directed to
                                                        one or more consumers in connection with the solicitation,
                                                        offering, contracting, or provision of debt settlement service;

                                                        H.   Whether    the   Defendant      employed   an   unfair,
                                                        unconscionable, or deceptive act or practice, including the
                                                        knowing omission of any material information;

                                                        I.  Whether the Defendant is subject to the DSCPA, ICFA and
                                                        CROA;

                                                        J.     Whether Plaintiff and the Class are entitled to relief.

                                                 74.    Adequacy of Representation: Plaintiff is an adequate representative



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                                            of the Class because their interests do not conflict with the interests of the class

                                            members they seek to represent, and Plaintiff intends to prosecute this action
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                                            vigorously. Plaintiff has retained counsel competent and experienced in class action

                                            litigation. The interests of the Class will be fairly and adequately protected by

                                            Plaintiff and Plaintiff’s counsel and Plaintiff’s claim is typical of the claims of the

                                            class members.

                                                  75.     Superiority: A class action in this case would be superior to any other

                                            available means for the fair and efficient adjudication of this controversy, and no

                                            unusual difficulties are likely to be encountered in the management of this class

                                            action. The damages or other financial detriment suffered by Plaintiff and the class

                                            members are relatively small compared to the burden and expense that would be

                                            required to individually litigate their claims against Defendant, so it would be

                                            impracticable for class members to individually seek redress for Defendant’s wrongful

                                            conduct. Individualized litigation creates a potential for inconsistent or contradictory

                                            judgments and increases the delay and expense to all parties and the judicial system.

                                            By contrast, the class action device presents far fewer management difficulties, and

                                            provides the benefits of single adjudication, economy of scale, and comprehensive

                                            supervision by a single court.

                                                                          REQUEST FOR RELIEF

                                                  WHEREFORE, Plaintiff asks for an award in her favor and against Defendant

                                            as follows:

                                                  A.      Certification of the proposed class;

                                                  B.      Designation of Plaintiff as representative of the proposed Class and
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                                            designation of Plaintiff’s counsel as Class counsel;

                                                  C.     Compensatory, statutory, actual, and nominal damages;
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                                                  D.     Punitive Damages as allowed by law;

                                                  E.     Attorney’s fees and costs of this action;

                                                  F.     Injunctive relief against Defendant as allowed by law; and,

                                                  G.     Such other or further relief as the court deems proper.



                                                                                                          Respectfully Submitted,

                                                                                                     By: /s/ Bryan Paul Thompson
                                                                                                      One of Plaintiff’s Attorneys
                                            Bryan Paul Thompson
                                            Robert W. Harrer
                                            CHICAGO CONSUMER LAW CENTER, P.C.
                                            650 Warrenville Road, Suite 100
                                            Lisle, IL 60532
                                            Tel. 312-858-3239
                                            Fax 312-610-5646
                                            bryan.thompson@cclc-law.com
                                            rob.harrer@cclc-law.com

                                            Seth McCormick (ARDC # 6309643)
                                            Great Lakes Consumer Law Firm, LLC
                                            73 W. Monroe St., Suite 100
                                            Chicago, IL 60603
                                            (312) 971-6787
                                            seth@glclf.com




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                                                                      VERIFICATION OF COMPLAINT
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                                                   Pursuant to Section 1-109 of the Illinois Code of Civil Procedure, Plaintiff
                                            verifies, certifies, and declares as follows:
                                                   1.      I am a Plaintiff in this civil proceeding.
                                                   2.      I have read the civil Complaint prepared by my attorneys and I believe
                                            that all of the facts contained in it are true to the best of my knowledge, information,
                                            and belief, formed after reasonable inquiry.
                                                   3.      I have not filed this Complaint for any improper purpose, such as to harass
                                            any Defendant, cause unnecessary delay to any Defendant, or create a needless increase
                                            in the cost of litigation to any Defendant named in the Complaint.
                                                   4.      I have filed this civil Complaint in good faith and solely for the purposes
                                            set forth in it.
                                                   I declare under penalty of perjury that the foregoing is true and correct.



                                            Executed on:


                                            ___________________________
                                            Date



                                            _____________________________________
                                            Name



                                            _____________________________________
                                            Signature




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                                                                DOCUMENT PRESERVATION DEMAND
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                                            Plaintiff hereby demands that Defendant take affirmative steps to preserve all
                                            recordings, data, documents, and all other tangible things that relate to plaintiff, the
                                            events described herein, any third party associated with any communication,
                                            campaign, account, sale, or file associated with Plaintiff, and any account or number
                                            or symbol relating to them. These materials are likely very relevant to the litigation
                                            of this claim. If Defendant is aware of any third party that has possession, custody,
                                            or control of any such materials, Plaintiff demands that Defendant request that such
                                            third party also take steps to preserve the materials. This demand shall not narrow
                                            the scope of any independent document preservation duties of the Defendant.

                                                                                                     By: /s/ Bryan Paul Thompson
                                                                                                      One of Plaintiff’s Attorneys

                                                                 NOTICE OF LIEN AND ASSIGNMENT

                                            Please be advised that counsel for Plaintiffs claim a lien upon any recovery herein
                                            for any attorney’s fees authorized by the above fee-shifting statutes or awarded by
                                            the Court. All rights relating to attorneys’ fees have been assigned to counsel for
                                            Plaintiffs.

                                                                                                     By: /s/ Bryan Paul Thompson
                                                                                                      One of Plaintiff’s Attorneys




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                                                                                                           Hearing Date: No hearing scheduled
                                                                                                           Location: <<CourtRoomNumber>>
                                                                                                           Judge: Calendar, 3
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                                                                                                                          FILED
                                                                                                                          9/26/2023 9:38 AM
                                                                                                                          IRIS Y. MARTINEZ
                                                                                                                          CIRCUIT CLERK
                                                                                                                          COOK COUNTY, IL
                                                                                                                          2023CH08174
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                                                             Case: 1:23-cv-15170 Document #: 1-1 Filed: 10/20/23 Page 30 of 30 PageID #:35
                                              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                   TELEPHONE NUMBER                      FOR COURT USE ONLY
                                              Bryan Thompson SBN 6310322                                              312-858-3239
                                              Chicago Consumer Law Center
                                              650 Warrenville Road suite 100, Lisle, IL, USA Suite 100
                                              Lisle, IL 60532
                                              ATTORNEY FOR Plaintiff
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                                              CIRCUIT COURT OF ILLINOIS, COUNTY OF COOK - CHANCERY
                                              50 W. Washington
                                              Chicago, IL 60602

                                              SHORT TITLE OF CASE:
                                              Rady, Melanie v. Panamerican Consulting LLC

                                              DATE:                    TIME:                    DEP./DIV.                                               CASE NUMBER:
                                              01/12/2024               12:00 AM                                                                         2023CH08174

                                                                                   Proof of Service by Mail                                             Ref. No. or File No:




                                            I am a citizen of the United States and employed in the County of Orange State of California. I am and was on the dates herein
                                            mentioned, over the age of eighteen years and not a party to the action.


                                            On 09/21/2023 after substituted service was made, I served the within:


                                            Complaint; Summons


                                            On the defendant, in said action by placing a true copy thereof enclosed in a sealed envelope with postage thereon pre-paid for first class
                                            in the United States mail At: Santa Ana, California, addressed as follows:
                                            Panamerican Consulting LLC
                                            Registered Agent: Aidin Rahimi
                                            3843 S Bristol St #308
                                            Santa Ana, CA 92704

                                            Person who served papers:

                                              a. Name: John Dawn
                                              b. Address: 1801 Parkcourt Place Suite F100, Santa Ana, CA 92701
                                              c. Telephone number: 714-973-9202
                                              d. The fee for this service was: 85.00
                                              e. I am:
                                              (3) [X] a registered California process server:
                                                      (i) [X] Employee
                                                      (ii) Registration No.: PSC-53
                                                      (iii) County: Orange

                                            I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                                               John Dawn                             Date: 09/23/2023




                                                                                                        Proof of Se rvice by M ail                                       Invoice #: 8261790
